Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 1 of 15. PageID #: 515




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



                                                )   CASE NO. 1:04CV1626
                                                )   (Consolidated Cases)
In Re:                                          )
                                                )
FERRO CORPORATION                               )    Judge John M. Manos
DERIVATIVE LITIGATION                           )
                                                )
                                                )
                                                )   MEMORANDUM OF OPINION


         On July 11, 2005, Thomas Auletta, Barbara Benscome, and Phillip Miller Trust

(collectively, “Lead Plaintiffs”) filed the above-captioned case against Ferro Corporation

(“Ferro”), Ferro Vice President and Chief Financial Officer Thomas M. Gannon, Ferro Vice

President of Performance Chemicals Dale G. Kramer, and the individual members of the Ferro

Board of Directors: Hector R. Ortino,1 Michael H. Bulkin, Michael F. Mee, William J. Sharp,

Alberto Weisser, Sandra Austin Crayton, Jennie S. Hwang, William B. Lawrence, Dennis W.

Sullivan, and Padmasree Warrior, alleging violations of the Sarbanes-Oxley Act of 2002 and

raising breach of fiduciary duty, abuse of control, gross mismanagement, waste of corporate

assets, and unjust enrichment claims. The consolidated complaint also raises breach of contract,

professional negligence, and accounting malpractice claims against KPMG, LLP (“KPMG”).

         On September 9, 2005, Ferro filed a motion to dismiss. (Docket No. 32.) On October

11, 2005, Lead Plaintiffs filed a brief in opposition. (Docket No. 36.) On November 10, 2005,

Ferro filed a reply. (Docket No. 38.)



 1
          Hector R. Ortino died on November 28, 2005. (Docket No. 39.)
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 2 of 15. PageID #: 516




       All issues have been fully-briefed and are ripe for adjudication. For the following

reasons, Ferro’s motion to dismiss (Docket No. 32) is GRANTED.

                               I.   FACTUAL BACKGROUND

       Lead Plaintiffs are all Ferro shareholders. (Docket No. 24, “Compl.,” at ¶¶15, 16, 18.)

Ferro is an Ohio corporation and leading producer of performance materials sold to a broad

range of manufacturers serving diverse markets throughout the world. Id. at ¶¶19, 52. It has

operations in approximately thirty markets throughout the world and had reported sales of $1.6

billion in Fiscal Year (“FY”) 2003. Id. at ¶2, 52. KPMG is a limited liability partnership public

accounting firm headquartered in New York, New York. Id. at ¶32. At all relevant times,

KPMG served as Ferro’s auditor. Id.

       From April 22, 2003 to April 27, 2004 (the “Restatement Period”) Ferro announced

quarterly increases in sales over preceding years. Id. at ¶56-77. Throughout this period

however, the Performance Chemical segment, which included the Polymer Additive business,

struggled due to low demand and high raw material costs. Id. Nonetheless, Defendants Ortino

and Gannon remained optimistic. Id. at ¶¶60-62. Specifically, on February 5, 2004, Defendant

Ortino informed the investing public that Ferro had successfully implemented price increases to

offset the rise in raw material costs and had substantially reduced costs and discretionary

spending. Id. at ¶66. Defendant Gannon predicted a 6-8% increase in the chemical segment for

the next quarter in comparison to the preceding year. Id. at ¶67.

       On April 27, 2004, Ferro announced its financial results for Q:1 04 and reported a 12.4%

revenue increase over the preceding year. Id. at ¶75. With regard to the Performance Chemical

segment, Ferro reported an 8.2% revenue increase, attributed to increased demand and pricing.


                                                -2-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 3 of 15. PageID #: 517




Id. at ¶77. Defendant Ortino called this a “dramatic recovery” and stated, “[t]he first quarter

exceeded our expectations, driven by a stronger demand in our key end markets . . . . we expect

this trend to continue through 2004.” Id. at ¶76.

       However, on July 23, 2004, Ferro surprised the investing public with its announcement

that it would have to lower its earnings expectations for the second quarter by more than 70%

due to inappropriate accounting entries. Id. at ¶80. According to the press release:

       The second quarter 2004 fully diluted earnings per share from continuing operations
       are expected to be between $0.10 to $0.12. This compares with the analysts’ second
       quarter earnings estimate range of $0.34 to $0.35 per share. The shortfall is largely
       the result of poor performance by the Polymer Additives business and charges to be
       taken in the Polymer Additives business unit to remedy inappropriate accounting
       entries. . . .

       During our financial review process we recently identified several issues in the
       preliminary results of our Polymer Additives business,” commented Hector R.
       Ortino, chairman and chief executive officer. “Upon a further examination, we
       determined that the Polymer Additives business unit’s performance was well below
       our expectations and that it will be necessary to take a non-cash charge to earnings
       related to inappropriate accounting entries.”

       The second quarter changes stemmed from an internal investigation of accounting
       entries made in the Company’s Polymer Additives business unit, which both
       overstated the business unit’s performance and undetermined the reliability of the
       forecasting process in that unit.

Id. On the same day, Ferro’s market value decreased by 16.2%, from a close of $24.68 per share

to a close of $20.68 per share, for a loss of over $167 million. Id. at ¶¶6, 82.

       Both the Securities and Exchange Commission (“SEC”) and Ferro, through independent

legal and accounting firms, are currently investigating the inappropriate accounting entries. Id.

at ¶¶81-89. As a result, the Polymer Additives business is scheduled for restructuring, at a cost

of $2.1 million. Id. at ¶84. Moreover, the ongoing investigations have revealed that the

irregularities date back to FY 01 and extend beyond the Polymer Additives business. Id. at ¶¶9,

                                                 -3-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 4 of 15. PageID #: 518




85. Although Ferro had initially blamed a former subordinate divisional employee for the

irregularities, later investigations identified “isolated instances” of what could be considered

discussions of possible inappropriate accounting. Id. at ¶¶85, 88-89.

        On April 21, 2005, Defendant KPMG announced that it was “unable to conclude at this

time that the investigation was adequate for its purposes.” Id. at ¶89. Thus, “the Audit

Committee has decided to engage an independent firm specializing in investigations to review

the original investigative team’s procedures and conclusions.” Id. The ongoing investigations

have already cost $1.7 million. Id. at ¶95. As a result, according to Lead Plaintiffs, Ferro has

been forced to pay fees due to amendments to credit agreements and defenses to securities fraud

actions, and suffered debilitating injuries to its reputation and credit worthiness. Id. at ¶¶90-95.

        With respect to the individual defendants, Lead Plaintiffs allege that they each knew but

concealed from the investing public that:

        (1) Ferro’s Polymer Additives business was not profitable and was incurring greater
        losses than had been reported;

        (2) Ferro’s efforts to raise the prices of its polymer additives to products to offset
        increasing “raw materials” cost had been ineffective, further eroding the Company’s
        revenues and profits;

        (3) the Company’s purportedly improving cost controls, especially regarding the
        Company’s Polymer Additives business, were, in fact, the product of accounting
        manipulations that deferred and/or materially understated the true operating costs of
        the business from Ferro’s public investors as well as the increasing losses the
        Company was actually incurring from its Polymer Additives business; and

        (4) the Company’s disclosure controls and procedures were wholly ineffective
        contrary to defendant’s representations to investors.

Id. at ¶10.

        On September 9, 2005, Ferro filed a motion to dismiss raising five issues:


                                                 -4-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 5 of 15. PageID #: 519




       (1) Whether plaintiffs have alleged with particularity sufficient facts to excuse their
       failure to make a pre-suit demand on Ferro’s Board of Directors, as Ohio substantive
       law and Federal Rule of Civil Procedure 23.1 require?

       (2) Does the Complaint fail to state a claim under Section 304 of the Sarbanes-Oxley
       Act, which does not provide for a private right of action?

       (3) Does the Complaint plead with requisite particularity that the Individual
       Defendants breached their fiduciary duties?

       (4) Should plaintiffs’ alleged breach of fiduciary duty for supposed insider trading
       / misappropriation of information count be dismissed, given that Ohio law does not
       recognize such a claim?

       (5) Should the Complaint be dismissed on the independent ground that plaintiffs
       have not complied with Rule 23.1's mandatory verification requirement?

(Docket No. 32, at 9.)

                                   II.   LEGAL STANDARD

       Ferro moves to dismiss the complaint on the ground that it does not state a claim upon

which relief can be granted and because Lead Plaintiffs have not shown that making a pre-suit

demand upon the directors would have been futile as required under Ohio law. Both claims are

brought pursuant to Federal Rule of Civil Procedure 12(b)(6). See Fed. R. Civ. P. 12(b)(6);

McCall v. Scott, 239 F.3d 808, 815 (6th Cir. 2001). In deciding a motion to dismiss, the

allegations are taken as true and viewed in the light most favorable to the non-movant. A claim

will not be dismissed “unless it appears beyond a reasonable doubt that the [non-movant] can

prove no set of facts to support his claim which would entitle him to relief.” Hiser v. City of

Bowling Green, 42 F.3d 382, 383 (6th Cir. 1994); see also Dana Corp. v. Blue Cross & Blue

Shield Mutual of Northern Ohio, 900 F.2d 882, 885 (6th Cir. 1990).

       Generally, a claim need only give fair notice as to the grounds upon which it rests. In re

DeLorean Motor Co., 991 F.2d 1236, 1240 (6th Cir. 1993). However, in a shareholder derivative

                                                -5-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 6 of 15. PageID #: 520




suit, a plaintiff must allege, with particularity, that a pre-suit demand was made upon the Board

or the reasons for not doing so. See Fed. R. Civ. P. 23.1; Ohio Civ. R. 23.1. This requirement

differs substantially from the principles of notice pleading. See McCall, 239 F.3d at 815 (citing

Brehm v. Eisner, 746 A.2d 244, 254 (Del. 2000)).

                                   III.   LAW AND ANALYSIS

        In a shareholder derivative action:

        The complaint shall . . . allege with particularity the efforts, if any, made by the
        plaintiff to obtain the action the plaintiff desires from the directors or comparable
        authority and, if necessary, from the shareholders or members, and the reasons for
        the plaintiff’s failure to obtain the action or for not making the effort.

See Fed. R. Civ. P. 23. In short, a derivative plaintiff must first demand that the board of

directors take the desired action prior to filing suit. If the derivative plaintiff does not make such

a demand, he must set forth, with particularity, the reasons for not doing so. Whether these

reasons are sufficient to excuse the pre-suit demand requirement is determined under the law of

the state of incorporation. Kamen v. Kemper Fin. Servs., Inc. 500 U.S. 90, 108-09 (1991);

McCall, 239 F.3d at 815. Here, Ferro is incorporated in Ohio. See Compl., at ¶19.

        Under Ohio law, a derivative plaintiff must, with particularity:

        (1) spell out the efforts made to have the directors or the other shareholders take the
        action demanded, (2) explain why they failed in this effort or did not make it, and (3)
        show that they “fairly and adequately” represent the interests of other shareholders
        “similarly situated.”

Weston v. Weston Paper & Mfg. Co., 74 Ohio St.3d 377, 379 (1996); Ohio Civ. R. 23.1. The

purpose of the pre-suit demand requirement is to give corporate management the first

opportunity to institute litigation, a decision ordinarily left to the discretion of the board of

directors. Grand Council of Ohio v. Owens, 86 Ohio App.3d 215, 221-22 (10th App. Dist. 1993).


                                                  -6-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 7 of 15. PageID #: 521




If a plaintiff does not comply with Ohio Civil Rule 23.1, he lacks standing to bring suit. Id. at

220. Indeed, under Ohio law, “no shareholder has an independent right to bring suit unless the

board refuses to do so and that refusal is wrongful, fraudulent or arbitrary, or is the result of bad

faith or bias on the part of the directors.” Drage v. P&G, 119 Ohio App.3d 19, 24 (1st App. Dist.

1997).

         Ohio law recognizes an exception to the pre-suit demand requirement “when the

shareholder can demonstrate that the demand would have been futile.” Id. at 25. In this context,

“[f]utility means that the directors’ minds are closed to argument and that they cannot properly

exercise their business judgment in determining whether the suit should be filed.” Id. “It is not

enough to show that the directors simply disagree with the shareholder about filing suit.” Id.

Rather, Ohio law embraces the presumption that “directors can make an unbiased, independent

business judgment about whether it would be in the corporation’s best interests to sue some or all

of the other directors.” Id.; See also O.R.C. § 1701.59(C)(1). Thus, “a bare allegation that the

directors would not want to sue themselves or each other does not show that demand would be

futile.” Id. Futility may exist however, when all of the directors are named as defendants, the

directors have engaged in self-dealing, or the named defendants dominate the board. Id. at 26.

The burden of proof is on the shareholders to establish demand futility. Id.

         Here, Lead Plaintiffs concede that no pre-suit demand was made upon the directors. See

Compl., at ¶109. Thus, they must establish, with particularity, the reasons for not doing so. See

Weston, 74 Ohio St.3d at 379; Ohio Civ. R. 23.1.

         At the outset, the Court recognizes that establishing demand futility in Ohio is not an

easy task. See e.g. Drage v. P&G, 119 Ohio App.3d 19, 24 (1st App. Dist. 1997); Carlson v.


                                                 -7-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 8 of 15. PageID #: 522




Rabkin, 152 Ohio App. 3d 672 (1st App. Dist 2003); Doe v. Malkov, 2002 Ohio App. LEXIS

7297 (10th App. Dist. Dec. 31, 2002); Davis v. DCB Financial Corp., 259 F. Supp. 2d 664, 670

(S.D. Ohio 2003) (all refusing to find demand futility); see also In re Ikon Office Solutions, Inc.

194 F.R.D. 166, 190 (E.D. Pa. May 9, 2000) (noting the importance of the demand requirement

under Ohio law). As one Ohio appellate court noted, Ohio law statutorily embraces the bedrock

principles that “the business and affairs of a corporation are managed by and under the direction

of its board” and that “[a]ll acts of a board of directors of an Ohio corporation are presumed to

have been taken in good faith.” Malkov, 2002 Ohio App. LEXIS at *13. Thus, another Ohio

appellate court stated:

       The demand requirement is clearly not a technical procedural requirement. Rather,
       it serves the very important purpose of ensuring that before a shareholder derivative
       suit is brought, the company’s board of directors has considered all possible
       intracorporate remedies. . . . Therefore, the corporate management must be given the
       first opportunity to institute the litigation since, “[a]s a general principle, the
       responsibility for determining whether or not a corporation shall enforce in the courts
       a cause of action for damages is, like other business questions, ordinarily a matter of
       internal management left to the discretion of the directors.”

Grand Council, 86 Ohio App. 3d at 221-22 (quoting Smachlo v. Birkelo, 576 F. Supp. 1439,

1443 (D. Del. 1983)).

       Here, Lead Plaintiffs argue that a pre-suit demand would be futile because the individual

Defendants were complicit in the wrongdoing and would not want to sue themselves. However,

Ohio courts have consistently rejected the idea that such bare allegations excuse the demand

requirement. See e.g. Drage, 119 Ohio App.3d at 24; Carlson, 152 Ohio App. 3d at 680-81;

Malkov, 2002 Ohio App. LEXIS at 12-14; Davis, 259 F. Supp. 2d at 670. Otherwise, derivative

plaintiffs could easily circumvent the demand requirement by simply naming the entire board as

defendants and alleging that they were complicit in the alleged wrongdoing. See e.g. Kaufman

                                                -8-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 9 of 15. PageID #: 523




v. Kansas Gas & Elec., 634 F. Supp. 1573, 1580 (D. Kan. 1986). Indeed, Ohio law is quite clear

that “a bare allegation that the directors would not want to sue themselves or each other does not

show that demand would be futile.” Drage, 119 Ohio App.3d at 24; Carlson, 152 Ohio App. at

680-81; Malkov, 2002 Ohio App. LEXIS at *12-14; Davis, 259 F. Supp. 2d at 670.

       Lead Plaintiffs attempt to satisfy the particularity requirement by alleging that the

individual Defendants “failed to establish and maintain internal financial controls . . . [and] tried

three times to cover up the scope, extent and endemic nature of the accounting fraud.” (Docket

No. 36, at 7.) However, these broad and conclusory allegations are based on pure speculation.

Lead Plaintiffs do not allege any particular facts whatsoever to establish what roles, if any, the

individual Defendants had in causing and/or covering up the accounting irregularities. Instead,

they make sweeping allegations that the individual Defendants knew about the irregularities and

misled the investing public. However, the only facts alleged to support these broad statements

are that the individual Defendants (1) had access to documents, (2) conversed with each other

and other employees, (3) attended meetings, and (4) read reports. See Compl., at ¶¶21-29. Yet,

Lead Plaintiffs have not plead, with any specificity, which documents, which conversations,

which employees, which meetings, or which reports.2

       In short, Lead Plaintiffs argue that the individual Defendants knew about the alleged

wrongdoings because they were directors and did “director-type” things. Such vague and broad

allegations would circumvent the demand requirement in almost any derivative suit and are



 2
         The mere fact that the individual Defendants signed and approved Ferro’s annual
         reports does not mean that they had actual knowledge of the accounting errors
         contained therein. Even still, mere acquiescence is insufficient to establish
         demand futility. See Drage, 119 Ohio App. 3d at 29.

                                                 -9-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 10 of 15. PageID #: 524




 simply insufficient under Ohio law to establish that the directors are “closed to argument and

 that they cannot properly exercise their business judgment in determining whether the suit

 should be filed.” Drage, 119 Ohio App.3d at 25; see also Carlson, 152 Ohio App. at 680-81;

 Malkov, 2002 Ohio App. LEXIS at *12-14; Davis, 259 F. Supp. 2d at 670.3

        The Court likewise rejects the argument that demand would be futile simply because the

 individual Defendants continue to receive substantial monetary compensation. This argument is

 simply another variation of the argument that demand would be futile because the directors

 would not want to sue themselves or expose themselves to liability. Ohio courts have

 consistently rejected this argument. Drage, 119 Ohio App.3d at 24; Carlson, 152 Ohio App. at

 680-81; Malkov, 2002 Ohio App. LEXIS at *12-14; Davis, 259 F. Supp. 2d at 670.

        Equally unconvincing is the argument that the individual Defendants’ inaction is

 evidence of their closed-mindedness. Under Ohio law, demand futility is evaluated at the time

 the lawsuit is filed. Drage, 119 Ohio App. 3d at 26. Nonetheless, the facts illustrate that the

 individual Defendants have not been inactive. Indeed, they commenced an independent

 investigation utilizing outside firms and restated quarterly reports. Moreover, as the Sixth


  3
          Lead Plaintiffs also note that Defendants Weisser and Mee have specialized
          financial expertise. Thus, according to Lead Plaintiffs, these Defendants should
          have been able to monitor Ferro’s financial records for accuracy and fairness.
          Even if true, these allegations only establish demand futility with respect to two
          members of the Board. Lead Plaintiffs must establish demand futility with
          respect to at least half of the Board. See Drage, 119 Ohio App. 3d at 28-29.

          Lead Plaintiffs also note that Defendant Ortino not only had specialized financial
          expertise, but that he also allegedly profited by selling 23,781 shares of Ferro
          stock during the relevant period for $620,814. Although these facts may suggest
          that Defendant Ortino engaged in self-dealing, he is now deceased. (Docket No.
          39.) Thus, any alleged self-dealing on his part is irrelevant to the question of
          whether the remaining individual Defendants can exercise independent judgment.

                                                -10-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 11 of 15. PageID #: 525




 Circuit recognized, “[i]naction by the Board will not excuse the failure to make a demand

 because it would deprive the Board of the opportunity to be ‘prodded’ into action, which is a

 fundamental goal of the demand requirement.” McCall, 239 F.3d at 824 (internal citations

 omitted).

        The Court also rejects the argument that demand would be futile because the individual

 Defendants are involved in a coverup. The only facts alleged to support Lead Plaintiffs’ coverup

 theory is that (1) the Board blamed a single employee, (2) restructured the Polymer Additives

 business, (3) restated quarterly reports; and (4) commenced ongoing investigations. Again, these

 allegations are based on pure speculation and do not articulate with any particularity, what role,

 if any, the individual Defendants played in any alleged coverup. Incidentally, the fact that the

 Board commenced an independent investigation utilizing outside firms and restated its quarterly

 reports to correct past mistakes undercuts any allegations regarding a coverup.

        Finally, Lead Plaintiffs argue that a pre-suit demand would be futile because the

 individual Defendants would be forced to abrogate their insurance coverage if they brought an

 action against themselves or each other, commonly referred to as the “insured versus insured”

 allegation. As the sole Ohio court to address this issue stated:

        Certainly, a provision prohibiting directors from bringing suits against each other
        would deprive the directors of the ability to exercise independent judgment as to the
        advisability of instituting action against any officer or director for mismanagement,
        and thereby [divest them] of the power to govern this aspect of the corporation’s
        affairs.

 Drage, 119 Ohio App. 3d at 27 (internal citations omitted).

        However, the Court does not find Drage authoritative on this point. Rather, the

 aforementioned language in Drage is dicta and does not appear in the court’s syllabus. Indeed,


                                                 -11-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 12 of 15. PageID #: 526




 as Lead Plaintiffs concede, it was unclear whether the insurance policy in Drage actually

 prohibited the directors from bringing suit. Id. at 27-28; (Docket No. 36, at 10.) Ultimately, the

 court refused to excuse the demand requirement. Id. at 26-31.

        Moreover, federal courts applying state law are not bound by a single state appellate

 court decision. Kurczi v. Eli Lilly & Co., 113 F.3d 1426, 1429 (6th Cir. 1997). Rather, a federal

 court may reject such decisions when other persuasive data support the conclusion that the

 highest state court would rule otherwise. Id. (Quoting Zeibart Int’l Corp.v. CNA Ins., Cos., 78

 F.3d 245, 250 (6th Cir. 1996)). Other persuasive data includes state supreme court dicta,

 restatements of law, law review commentaries, and the majority rule among other states. Id.

 (Quoting Garden City Osteopathic Hosp. v. HBE Corp., 55 F.3d 1126, 1130 (6th Cir. 1995)).

        Here, several reasons support the rejection of Drage’s dicta. First, state and federal

 courts have almost unanimously rejected the idea that “insured versus insured” exclusions

 excuse the demand requirement. See e.g. Decker v. Clausen, 1989 Del. Ch. LEXIS 143, at *8

 (Del. Ch. Nov. 6, 1989); Specter v. Sidhu, 2004 U.S. Dist. LEXIS 876 (N.D. Tex. Jan. 26, 2004);

 In re Westinghouse Sec. Litig., 832 F. Supp. 989, 997 (W.D. Pa. 1993); Stoner v. Walsh 772 F.

 Supp. 790, 805 (S.D.N.Y. 1991); In re Prudential Ins. Co. Deriv. Litig., 282 N.J. Super. 256, 280

 (1995); Stepak ex rel. Southern Co. v. Addison, 20 F.3d 398, 411 (11th Cir. 1994); but see In re

 First Energy Deriv. Litig., 320 F. Supp. 2d 621, 625 (N.D. Ohio 2004). Because most public

 companies have such insurance exclusions, Lead Plaintiffs’ argument would eviscerate the

 demand requirement altogether. See e.g. In re Prudential, 282 N.J. Super at 280. As one court

 aptly stated, “[the] assertion that the exclusion automatically renders a board member

 ‘interested’ with respect to a decision to reject demand finds no support in either case authority


                                                 -12-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 13 of 15. PageID #: 527




 or logic. Such a rule would preclude rejection of a demand whenever the standard exclusion

 exists.” Stoner, 772 F. Supp. at 805.

        Second, the “insured versus insured” argument is simply another variation of the

 argument that demand would be futile because the directors would not want to sue themselves.

 Ohio courts have rejected this argument. Drage, 119 Ohio App.3d at 24; Carlson, 152 Ohio App.

 at 680-81; Malkov, 2002 Ohio App. LEXIS at *12-14; Davis, 259 F. Supp. 2d at 670.

        Third, and most persuasive, all three cases relied upon in Drage to support the notion that

 “insured versus insured” exclusions excuse the demand requirement are no longer good law.

 Drage cited three cases: Seinfeld v. Bays, 230 Ill. App. 3d 412 (Ill. App. Ct. 1992); First Am.

 Bank & Trust v. Frogel, 726 F. Supp. 1292 (S.D. Fla. 1989); and Grill v. Hobiltzell, 771 F. Supp.

 709 (D. Md. 1991). The first case, Seinfeld, applied Delaware law. However, Delaware courts

 have consistently rejected the argument. See e.g. Decker, 1989 Del. Ch. LEXIS 143, at *8;

 Caruana v. Saligman, 1990 Del. Ch. LEXIS 210, *11 (Del. Ch. Dec. 21, 1990). The second case,

 Frogel, applied both Delaware and Florida law. Again, Delaware has rejected the argument and

 Florida has since adopted a universal demand requirement, which abolished the demand futility

 exception altogether. See Fla. Stat. Ann. § 607.07401(2) (2005). Finally, the third case, Grill,

 applied Maryland law, which has also since rejected the argument. See Werbowsky v. Collomb,

 362 Md. 581, 594, 620, 622 (Md. 2001) (affirming dismissal of a derivative suit notwithstanding

 the existence of an “insured versus insured” exclusion).

        Thus, the Court is persuaded that if the Ohio Supreme Court were to address this issue, it

 would not follow the dicta in Drage and would rather conclude that the existence of an “insured

 versus insured” exclusion does not excuse pre-suit demands in derivative litigation.


                                                -13-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 14 of 15. PageID #: 528




        Although the aforementioned allegations, whether considered individually or

 collectively, might be sufficient under a notice pleading standard, they are insufficient to excuse

 demand under the particularity requirement, which differs substantially from the principles of

 notice pleading. See McCall, 239 F.3d at 815 (citing Brehm, 746 A.2d at 254). Specifically,

 such allegations do not establish that the individual Defendants are “closed to argument and that

 they cannot properly exercise their business judgment in determining whether the suit should be

 filed.” Drage, 119 Ohio App.3d at 25; see also Carlson, 152 Ohio App. at 680-81; Malkov, 2002

 Ohio App. LEXIS at *12-14; Davis, 259 F. Supp. 2d at 670. Moreover, these allegations are

 insufficient to overcome the presumption that “directors can make an unbiased, independent

 business judgment about whether it would be in the corporation’s best interests to sue some or all

 of the other directors.” Id.4

                                      III.   CONCLUSION

        In conclusion, Lead Plaintiffs have not sufficiently alleged, with any particularity, that a

 pre-suit demand upon the Board would be futile. Accordingly, the Court need not address the

 remaining four substantive issues raised by Ferro in its motion to dismiss.




  4
          The Court recognizes that on this very day, it is allowing the related ERISA
          action to go forward. However, ERISA is not governed by the heightened
          pleading standard that governs the demand requirement in this case. Also, the
          threshold inquiry in this case is really about corporate governance and who has
          the right to pursue an action on behalf of the corporation. ERISA simply does not
          require this type of threshold inquiry.

                                                -14-
Case: 1:04-cv-01626-JMM Doc #: 43 Filed: 03/21/06 15 of 15. PageID #: 529




        For the foregoing reasons, the motion to dismiss (Docket No. 32) is GRANTED. This

 case is dismissed, without prejudice for failure to satisfy the requirements of Federal Rule of

 Civil Procedure 23.1. Each party to bear its own costs.

                IT IS SO ORDERED.




 Date: March 21, 2006                          /s/ John M. Manos
                                               UNITED STATES DISTRICT JUDGE




                                                -15-
